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1                                       UNITED STATES DISTRICT COURT

2                                             DISTRICT OF NEVADA

3                                                        ***
      IMAGEKEEPER LLC, a Nevada Limited
4     Liability Company,
5                          Plaintiff,                       2:20-cv-01470-GMN-VCF
                                                            ORDER
6     v.
      WRIGHT NATIONAL FLOOD INSURANCE
7
      SERVICES, LLC, a Delaware Limited Liability
8
      Company, and EVOKE TECHNOLOGIES
      PRIVATE LIMITED, an Ohio foreign
9     corporation,

10
                            Defendants.

11
            Before the court is defendant Wright National Flood Insurance Services, LLC’s motion to compel

12
     (ECF NO. 209).

13
            Accordingly,

14
            IT IS HEREBY ORDERED that a video conference hearing is scheduled for 1:00 PM, May 31,

15
     2022, on defendant Wright National Flood Insurance Services, LLC’s motion to compel (ECF NO. 209).

16
            IT IS FURTHER ORDERED that counsel/the parties must email Courtroom Administrator,

17
     Tawnee Renfro at Tawnee_Renfro@nvd.uscourts.gov, with an email address to be used for the video

18
     conference hearing by noon, May 27, 2022.

19
            IT IS ORDERED that the following Video Conference Instructions be adhered to as follows:

20
            INSTRUCTIONS FOR THE VIDEO CONFERENCE

21
            Instructions to the scheduled hearings will be sent via email thirty (30) minutes prior to the hearing

22
     to the participants email provided to the Court.

23
            • Log on to the call ten (10) minutes prior to the hearing time.

24
            • Mute your sound prior to entering the hearing.

25
            • Do not talk over one another.
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1           • State your name prior to speaking for the record.

2           • Do not have others in the video screen or moving in the background.

3           • No recording of the hearing.

4           • No forwarding of any video conference invitations.

5           • Unauthorized users on the video conference will be removed.

6

7           For anyone who is not a party to the action, the call-in telephone number is (888) 273-3658, access

8    code: 3912597, and the phone must be on mute. The call must be made five minutes prior to the hearing

9    time. The court will join the call and convene the proceedings. Recording of the proceedings is prohibited.

10

11          DATED this 9th day of May 2022.
                                                                  _________________________
12                                                                CAM FERENBACH
                                                                  UNITED STATES MAGISTRATE JUDGE
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